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 receivables expected to accrue but remain unpaid, other than professional fees and any other

 information relevant to an understanding of the foregoing. See list annexed as Exhibit A.

           I hereby declare that the foregoing is accurate and true to the best of my knowledge and

 belief.


 Dated: June 27, 2019
        New York, New York                                       /s/ Jing Yang

                                                               Jing Yang, President




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